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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
SK/EMR/PP/MED/AA                                   271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201



                                                   January 18, 2023
                                        SO ORDERED: 1/18/23
By E-mail and ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York                               ________________________
225 Cadman Plaza East
                                                                     USDC
Brooklyn, New York 11201

              Re:     United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (S-1) (BMC)

Dear Judge Cogan:

              The government respectfully requests that the four court-certified Spanish
language interpreters who will be interpreting witness testimony at trial be permitted to bring
their smartphones, laptops, and tablets into the courtroom to assist them during the trial.

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:      /s/
                                                   Saritha Komatireddy
                                                   Erin M. Reid
                                                   Philip Pilmar
                                                   Marietou E. Diouf
                                                   Adam Amir
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000

cc:    Clerk of Court (by ECF)
       Defense Counsel (by ECF)
